             Case 2:25-cv-00267-JHC            Document 5     Filed 06/26/25   Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
            WAYNE HOLLAUS,                                   CASE NO. C25-0267JHC
10
                                  Plaintiff,                 ORDER
11
                   v.
12
            UNITED STATES OF AMERICA,
13
                                  Defendant.
14

15          Federal Rule of Civil Procedure 4 requires a plaintiff to serve the defendant with a

16   summons and a copy of the plaintiff’s complaint and sets forth the specific requirements

17   for doing so. See Fed. R. Civ. P. 4. Rule 4(m), which provides the timeframe in which

18   service must be effectuated, states in relevant part:

19          If a defendant is not served within 90 days after the complaint is filed, the
            court—on motion or on its own after notice to the plaintiff—must dismiss
20          the action without prejudice against that defendant or order that service be
            made within a specified time. But if the plaintiff shows good cause for the
21          failure, the court must extend the time for service for an appropriate period.

22


     ORDER - 1
            Case 2:25-cv-00267-JHC        Document 5      Filed 06/26/25    Page 2 of 2




 1   Id. Here, Plaintiff has failed to serve Defendant with a summons and a copy of Plaintiff’s

 2   complaint within the timeframe provided in Rule 4(m).

 3          Accordingly, the Court ORDERS Plaintiff to SHOW CAUSE within ten (10) days

 4   of the date of this order why this action should not be dismissed for failure to comply

 5   with Rule 4(m). If Plaintiff does not demonstrate good cause for the failure, the Court

 6   will dismiss the action without prejudice.

 7          Dated this 26th day of June, 2025.

 8


                                                      A
 9

10
                                                      The Honorable John H. Chun
11                                                    United States District Judge

12

13

14

15

16

17

18

19

20

21

22


     ORDER - 2
